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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                 Plaintiff,
                                     No. 1:17-cv-11008
     v.

CELLTRION HEALTHCARE CO., LTD.,      PUBLIC
CELLTRION, INC., and                 REDACTED VERSION
HOSPIRA, INC.

                 Defendants.


  MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR PARTIAL
SUMMARY JUDGMENT THAT THERE WERE AVAILABLE AND ACCEPTABLE
    NON-INFRINGING ALTERNATIVES TO THE ASSERTED PATENT
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I.         INTRODUCTION

           Because Janssen seeks to prove entitlement to lost profits using the Panduit test, it bears

the burden of establishing the “absence of acceptable noninfringing alternatives.” Panduit Corp.

v. Stahlin Bros. Fibre Works, Inc., 575 F. 2d 1152, 1156 (6th Cir. 1978). But it cannot possibly

satisfy that obligation. Defendants have identified numerous available, acceptable, non-infringing

alternatives to the claimed cell culture media. As to one in particular—modifying the accused

media to eliminate the claimed ingredient magnesium chloride—Janssen cannot and has not raised

any material fact dispute. Thus, Defendants are entitled partial summary judgment holding that

there is at least one available, acceptable non-infringing alternative, which precludes Janssen from

seeking lost profits.

           Janssen’s expert, Dr. Butler,




                                                                                                     Ex. 1, Butler

4/17/18 Dep. Tr. at 115:24-116:13; SOF1 ¶ 12. He further confirmed that

                                                                                                                 Id.

at 120:9-121:13; SOF ¶ 13.

           Dr. Butler cannot credibly claim otherwise, because his infringement theory looked to

active components rather than the chloride or sulfate attached to them. For example, Dr. Butler

argued a limitation directed to another trace metal, copper sulfate, was met because “[w]hether the

source of [active component] copper(II) in the media is a sulfate salt (as in the claim), or a mixture



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    “SOF” herein refers to Defendants’ Rule 56.1 Statement of Undisputed Material Facts filed concurrently in support
      of the instant motion.
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of chloride and sulfate salts (as in the Celltrion Media), in solution cells will encounter free

copper(II).” Dkt. 221-3, Butler Op. at ¶ 59; SOF ¶ 8.

       Dr. Butler further




         Ex. 1, Butler 4/17/18 Dep. Tr. at 120:9-121:13; SOF ¶ 13. There is no dispute that this

easily-implementable alternative media was both available and acceptable.

       Nor is there any dispute that this alternative is non-infringing. In fact, Dr. Butler—

Janssen’s infringement expert—refused to take any position on the issue.

                                                                      Ex. 1, Butler 4/17/18 Dep. Tr.

at 115:24-118:16; SOF ¶¶ 12, 15.

       In fact, he could not credibly claim that the modified media would infringe, because it

completely lacks a required claim limitation: the ingredient magnesium chloride. As the Supreme

Court stated, “[i]t is important to ensure that the application of the doctrine [of equivalents], even

as to an individual element, is not allowed such broad play as to effectively eliminate that element

in its entirety.” Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 US 17, 29 (1997). The

Federal Circuit has considered and rejected analogous attempts by patentees to satisfy two recited

claim elements by pointing to one of them. For example, in Power Integrations, the Federal Circuit

held that the claimed “first feedback signal” and “second feedback signal” cannot be satisfied by

a single feedback signal without vitiating a limitation. Power Integrations, Inc. v. Fairchild

Semiconductor Int’l, Inc., 843 F.3d 1315, 1344-45 (Fed. Cir. 2016). Likewise, as a matter of law,

the first claimed magnesium source (magnesium chloride) and second claimed magnesium source

(magnesium sulfate) cannot both be satisfied by one magnesium source (magnesium sulfate) alone.




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       Dr. Butler’s admissions foreclose Janssen’s ability to recover lost profits as a matter of law,

such that summary judgment of no lost profits should be entered.

II.    STATEMENT OF UNDISPUTED FACTS

       Janssen asserts infringement of U.S. Patent No. 7,598,083 (“’083 Patent”), which claims a

specific formulation of cell culture media. Dkt. 1 (Complaint) at ¶ 1. Janssen contends that two

GE HyClone cell culture media products—Growth Powder (HyClone Catalog No. SH3A2713)

and Production Power (HyClone Catalog No. SH3A2800)—are covered by the asserted claims of

the ’083 Patent under the doctrine of equivalents. Dkt. 221-1 at ¶ 12; SOF ¶ 5. Defendants use the

accused cell culture media as part of a process to grow cells in the production of the drug

infliximab. SOF ¶ 6.

       There is no dispute, however, that the cell culture media claimed in the ’083 Patent is not

the only media that could be used in producing infliximab.




Ex. 1, Butler 4/17/18 Dep. Tr. at 45:16-21; SOF ¶ 9.

                                                                                   Id. at 43:6-45:21;

SOF ¶ 10.

       Defendants thus proffered as one non-infringing alternative a simple change to the accused

products that necessarily avoids infringement. E.g. Ex. 2, Frohlich Rep. at ¶ 23; SOF ¶ 11. The

’083 Patent contains two limitations directed to magnesium salts: “anhydrous MgCl2 [magnesium

chloride], 15-50 mg” and “anhydrous MgSO4 [magnesium sulfate], 20-80 mg.” Dkt. 227-13, ’083

Patent at Claim 1; SOF ¶ 3. Janssen’s expert Dr. Butler

                              Ex. 1, Butler 4/17/18 Dep. Tr. at 114:14-16; SOF ¶ 4. GE HyClone



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includes both magnesium chloride and magnesium sulfate in the allegedly infringing media. Ex.

2, Frohlich Rep. at App’x C; SOF ¶ 7. In Defendants’ proffered non-infringing alternative, one of

the claimed magnesium salts is eliminated and the other claimed magnesium salt is increased to

compensate, such that the same total amount of magnesium is provided. E.g., Ex. 2, Frohlich Rep.

at ¶ 273; SOF ¶ 11. To illustrate, Defendants could have eliminated magnesium chloride and

increased the magnesium sulfate to compensate. Id.

       Janssen’s expert Dr. Butler does not dispute that this magnesium change would work;




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Ex. 1, Butler 4/17/18 Dep. Tr. at 115:24-116:13; 120:9-121:13; SOF ¶¶ 12-13.2

III.       SUMMARY JUDGMENT LEGAL STANDARD

           Summary judgment should be granted when “there is no genuine dispute as to any material

fact” and “the movant party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). An

issue is “genuine” when a reasonable fact-finder could find for the non-moving party; a fact is

“material” when it might affect the outcome of the suit under the applicable law. Morris v. Gov’t

Dev. Bank of P.R., 27 F.3d 746, 748 (1st Cir. 1994). The non-moving party bears the burden of

placing at least one material fact into dispute after the moving party shows the absence of any

disputed material fact. Mendes v. Medtronic, Inc., 18 F.3d 13, 15 (1st Cir. 1994) (discussing

Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)).

IV.        ARGUMENT

           To obtain lost profits under Panduit, Janssen “must prove . . . [the] absence of acceptable

noninfringing substitutes.” Panduit, 575 F. 2d at 1156; Presidio Components, Inc. v. Am. Technical

Ceramics Corp., 875 F.3d 1369, 1380 (Fed. Cir. 2017) (the “Panduit test requires the patentee to

show . . . an absence of acceptable, noninfringing substitutes.”).

           A.      The magnesium switch was an interchangeable alternative, and thus
                   acceptable.

           There is no genuine dispute of material fact that



                                              . Ex. 1, Butler 4/17/18 Dep. Tr. at 115:24-116:13; 120:9-

121:13; SOF ¶¶ 12-13. As Dr. Butler


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    All emphases added and objections omitted from deposition quotes in this memorandum.


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Id. Despite that Defendants’ expert proffered the elimination of one of the magnesium claim

elements as a non-infringing alternative, neither Janssen nor its experts disputed it. Thus, there is

no genuine dispute that a magnesium switch would have resulted in an acceptable substitute for

the accused media.

       B.      The magnesium switch was available with the materials and tools already
               used to make the accused product.

       There is also no genuine dispute about the ability to implement such a change, i.e., the

availability of the substitute. As this Court ruled, “[a] proper reconstruction of the ‘but for’ world

that would have existed absent infringement must consider actions the infringer would have taken

to avoid infringement—including designing around the patented intellectual property—starting on

the date of first infringement and not on some later date, such as the date of first notice.” Janssen

Biotech, Inc. v. Celltrion Healthcare Co. Inc., 239 F.Supp.3d 328, 331 (D. Mass. 2017) (quoting

Apple Inc. v. Samsung Electronics Co. Ltd., 2013 WL 5958172, *2–3 (N.D. Cal. 2013)); Apple,

2013 WL 5958172 at *5 (“while [the patentee’s expert] apparently does not ‘see how [the

infringer] can design around a patent until it’s notified of its existence and the fact that it’s

infringing,’ the entire point of reconstructing an infringement-free market in a lost profits analysis

is that we are recreating a world that did not exist.”); LaserDynamics, Inc. v. Quanta Computer,

Inc., 694 F. 3d 51, 75-76 (Fed. Cir. 2012) (date of first infringement in damages analysis is date

of first direct infringement, not date inducement claim accrues).

       Here, there is no genuine dispute that the ’083 Patent recites two interchangeable forms of

magnesium: “anhydrous MgCl2 [magnesium chloride], 15-50 mg” and “anhydrous MgSO4

[magnesium sulfate], 20-80 mg.” Dkt. 227-13, ’083 Patent at Claim 1;

                                                 SOF ¶¶ 4, 12-13. There is no genuine dispute that



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GE HyClone added both forms of magnesium to the accused products. Ex. 2, Frohlich Rep. at

App’x C; SOF ¶ 7. Thus, Celltrion could have simply asked GE HyClone to remove one of the

magnesium salts and compensate with an equal amount of the other using the same materials.

Indeed, there is no actual evidence that the modified magnesium media formulation would take

any longer than a typical purchase order. And in any event, even Dr. Butler

                                                       Ex. 1, Butler 4/17/18 Dep. Tr. at 120:18-23;

SOF ¶ 13.

         That change would have caused not even a single day of delay in Inflectra®’s ultimate

introduction to the marketplace. On the relevant date in October 2009, Celltrion



                                                            . Ex. 2, Frohlich Rep. ¶ 109; SOF ¶ 16.

Thus, with literally no delay whatsoever, Celltrion could have simply appended the magnesium

change                                       , and then proceeded along the very same development

and regulatory path that ultimately led to Inflectra®’s product launch seven years later in 2016.

Ex. 2, Frohlich Rep. ¶ 101; SOF ¶ 6. Again, as noted above, the two different forms of magnesium

are                     and Janssen has offered no evidence to the contrary.



                         Ex. 1, Butler 4/17/18 Dep. Tr. at 121:7-13; SOF ¶ 13.

         C.     Janssen cannot (and does not) argue the magnesium switch infringes.

         Without the claimed magnesium chloride, the asserted claims cannot be literally infringed,

and Janssen cannot rely on the doctrine of equivalents without vitiating the claim element requiring

magnesium chloride. As the Supreme Court has made clear, “[i]t is important to ensure that the

application of the doctrine [of equivalents], even as to an individual element, is not allowed such




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broad play as to effectively eliminate that element in its entirety.” Warner-Jenkinson, 520 U.S. at

29.

       Where a claim requires multiple sources, a single source cannot satisfy the claim without

vitiating the limitations at issue. For example, in Power Integrations, the Federal Circuit held that

the claimed “first feedback signal” and “second feedback signal” cannot be satisfied by a single

feedback signal without vitiating a limitation. Power Integrations, 843 F.3d at 1344-45. Likewise,

it has held that “finding a signal from one source to be equivalent to ‘signals from a plurality of

sources’ would vitiate that claim limitation by rendering it meaningless.” Am. Calcar, Inc. v. Am.

Honda Motor Co., 651 F.3d 1318, 1339 (Fed. Cir. 2011). Whether claim vitiation precludes

application of the doctrine of equivalents is a question of law and is appropriately considered on

summary judgment. Seachange Int’l, Inc. v. C-Cor, Inc., 413 F. 3d 1361, 1378 (Fed. Cir. 2005);

Asyst Techs., Inc. v. Emtrak, Inc., 402 F.3d 1188, 1195 (Fed. Cir. 2005) (affirming vitiation

summary judgement). “[I]f a court determines that a finding of infringement under the doctrine of

equivalents ‘would entirely vitiate a particular claimed element,’ then the court should rule that

there is no infringement under the doctrine of equivalents.” Lockheed Martin Corp. v. Space

Sys./Loral, Inc., 324 F.3d 1308, 1321 (Fed. Cir. 2003).

       Here, the patent claims two sources of magnesium: magnesium chloride and magnesium

sulfate. Dkt. 227-13, ’083 Patent at Claim 1. But the proposed alternative lacks one of those two

claimed sources altogether (magnesium chloride), and Janssen cannot argue that the claimed

magnesium chloride and magnesium sulfate limitations are legally equivalent to magnesium

sulfate alone without vitiating the limitations. Power Integrations, 843 F.3d at 1344-45; Am.

Calcar, 651 F.3d at 1339. “Under the doctrine of equivalents, an infringement theory thus fails if

it renders a claim limitation inconsequential or ineffective.” Akzo Nobel Coatings, Inc. v. Dow




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Chem. Co., 811 F.3d 1334, 1342 (Fed. Cir. 2016). But that is exactly what would occur if Janssen

were to try to use the doctrine of equivalents to cover this modified alternative media. Thus, the

modified media does not infringe the ’083 Patent claims as a matter of law.

        In fact, Janssen’s expert reports proffered to rebut Defendants’ asserted non-infringing

alternatives fail to allege infringement of the magnesium switch and Dr. Butler refused to answer

if it would infringe:




Ex. 1, Butler 4/17/18 Dep. Tr. at 117:13-118:16; SOF ¶ 15. Accordingly, Janssen has offered no

evidence of infringement.

V.      CONCLUSION

        For the reasons above, the Court should grant summary judgment that Janssen has failed

to prove the absence of non-infringing alternatives and preclude Janssen from seeking lost profits.


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Dated: May 4, 2018                 Respectfully submitted,

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                                   and Hospira, Inc.

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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 4,

2018.


                                               /s/Andrea L. Martin, Esq.
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